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AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) Page 1 of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the
Middle District of Florida
United States of America )
- 2:21-cr-103-TPB-KCD
DANZAVIERAN DURAND THURMAN ) Case No:
) USMNo: 74308-509
)
Date of Original Judgment: 05/26/2022 )
Date of Previous Amended Judgment: ) James Skuthan, AFPD
(Use Date of Last Amended Judgment if Any) Defendant’s Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(2)

Upon motion of VI the defendant CJ the Director of the Bureau of Prisons C] the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motions (Docs. 85, 86, 87, 88 & 89) are:
[VIDENIED. LJ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to

for the reasons stated in probation's memorandum (Doc. 90) and defense counsel's notice (Doc. 95).
(See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated 05/26/2022 shall remain in effect.
IT IS SO ORDERED.

Order Date: 04/23/2025 AF Vex P e (aul...

Judge’s signature

Effective Date: Thomas P. Barber, U.S. District Judge

(if different from order date) Printed name and title
